Case 8:23-cv-02718-CEH-LSG           Document 81-2   Filed 11/12/24   Page 1 of 18 PageID
                                            746



                      UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


 RUMBLE INC.,
                            Plaintiff,
              - against -                            Case No. 8:23-cv-02718-CEH
 NANDINI JAMMI, CLAIRE ATKIN,
 and JOHN DOE NOS. 1-10,
                            Defendants.



  DEFENDANT NANDINI JAMMI’S RESPONSES AND OBJECTIONS TO
   PLAINTIFF RUMBLE INC.’S FIRST REQUESTS FOR PRODUCTION

       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the

 Local Rules of the United States District Court for the Middle District of Florida,

 Defendant Nandini Jammi (“Jammi”), by and through her undersigned counsel,

 hereby responds and objects to Plaintiff Rumble, Inc.’s (“Rumble”) First Set of

 Requests for Production of Documents (“Requests” or, singularly, a “Request”)

 without waiving any rights or objections to the Requests and without admitting the

 relevance, materiality, or admissibility of the subject matter or facts contained in the

 Requests or responses.

       Discovery remains in its early stages and Jammi reserves the right to correct,

 amend, modify, or supplement its responses and objections to these Requests at any

 time in the future, as warranted by the circumstances. Jammi will begin producing

 documents responsive to Rumble’s Requests within a reasonable period after an
Case 8:23-cv-02718-CEH-LSG        Document 81-2    Filed 11/12/24   Page 2 of 18 PageID
                                         747



 appropriate and mutually agreeable protective order is entered in this action. Atkin

 further notes that Defendants have filed a motion to stay discovery, which is fully

 briefed and pending a decision. See Dkts. 46-47, 51, 55. These responses are expressly

 subject to the outcome of that motion and, if a stay is granted, Jammi will not produce

 documents unless and until it is lifted.

                    SPECIFIC RESPONSES AND OBJECTIONS

 INSTRUCTION NO. 15

       Unless otherwise specified in a specific Request for Production, the relevant

 time is the earlier of either October 1, 2022, or Your first communication with any

 Person about Rumble’s advertising. In no event shall You treat the time covered by

 these Requests for Production as commencing any later than the earliest date of any

 Document or information you rely upon, or consider in connection with this matter.

 RESPONSE TO INSTRUCTION NO. 15

       Jammi objects to the proposed time period for productions as beginning from

 her “first communication with any Person about Rumble’s advertising” as overly

 broad and disproportional to the needs of the case because Check My Ads did not

 begin its reporting on Rumble until after October 1, 2022. Jammi further objects on

 the grounds that the demand to extend the time period so that it begins from “the

 earliest date of any Document or information you rely upon, or consider in connection

 with this matter” imposes requirements upon Jammi that go beyond what is required

 by the applicable Rules. Jammi further objects to the proposed time period because it

 has no end date and calls for documents created after this lawsuit was filed that are

                                            2
Case 8:23-cv-02718-CEH-LSG       Document 81-2      Filed 11/12/24      Page 3 of 18 PageID
                                        748



 privileged and/or irrelevant to the causes of action set forth in the Amended

 Complaint.    For these reasons, unless otherwise specified, Jammi will produce

 relevant, non-privileged documents for the period October 1, 2022 through November

 29, 2023, subject to the objections and limitations set forth below.

 REQUEST FOR PRODUCTION NO. 1

       All Documents and Communications Concerning Rumble’s advertising

 revenue.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 1

       Jammi objects to this Request as overly broad, unduly burdensome, and not

 relevant to any party’s claim or defense or proportional to the needs of the cases

 because it seeks “all” information relating to the Rumble’s advertising revenue,

 including information unrelated to the statements in suit that Rumble has identified in

 Paragraph 84 of the Amended Complaint (the “Statements in Suit”). Jammi further

 objects to this Request on the same grounds because Rumble has indicated that it seeks

 to use party discovery in this action to fish for information that is irrelevant to this

 action but may be useful in targeting Defendants Atkin and Jammi (collectively,

 “Defendants”), and Check My Ads. Jammi further objects to this Request because it

 purports to require information that is protected by Fla. Stat. § 90.5015, Md. Cts. &

 Jud. Proc. Code Ann. § 9-112, N.Y. Civ. Rights Law § 79-h, the Maryland, Florida

 and New York State Constitutions, the First and Fourteenth Amendments to the U.S.

 Constitution, and any other applicable statutory, constitutional, or common-law

 privilege that protects journalists from disclosing unpublished material and/or

                                            3
Case 8:23-cv-02718-CEH-LSG        Document 81-2      Filed 11/12/24    Page 4 of 18 PageID
                                         749



 information obtained during the course of their newsgathering activity including but

 not limited to the identity of their sources (collectively, the “Reporters’ Shield Laws”).

 Jammi further objects to this Request because it seeks documents covered by the

 attorney-client privilege, attorney work product doctrine and/or joint defense

 privilege. Jammi further objects to this Request because it seeks communications

 and/or documents outside of Jammi’s possession, custody, or control. Jammi further

 objects to this Request because the information Plaintiff seeks is available to the public

 and/or already in Rumble’s possession.

        Notwithstanding these objections, Jammi will produce copies of non-privileged

 documents and/or communications that are responsive to this Request and relate to

 the Statements in Suit, to the extent they are within her possession, custody or control

 following a reasonable search. Jammi will not produce documents unrelated to the

 Statements in Suit in response to this Request because such documents are irrelevant

 and privileged against compelled production by the Reporters’ Shield Laws.

 REQUEST FOR PRODUCTION NO. 2

        All Documents and Communications Concerning Rumble’s use of Google

 Ads.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 2

        Jammi objects to this Request as overly broad, unduly burdensome, and not

 relevant to any party’s claim or defense or proportional to the needs of the cases

 because it seeks “all” information relating to the Rumble’s use of Google Ads,

 including information unrelated to the Statements in Suit. Jammi further objects to

                                             4
Case 8:23-cv-02718-CEH-LSG         Document 81-2      Filed 11/12/24    Page 5 of 18 PageID
                                          750



 this Request on the same grounds because Rumble has indicated that it seeks to use

 party discovery in this action to fish for information that is irrelevant to this action but

 may be useful in targeting Defendants, Check My Ads. Jammi further objects to this

 Request because it purports to require information that is protected by the Reporters’

 Shield Laws. Jammi further objects to this Request because it seeks documents

 covered by the attorney-client privilege, attorney work product doctrine and/or joint

 defense privilege.     Jammi further objects to this Request because it seeks

 communications and/or documents outside of Jammi’s possession, custody, or

 control. Jammi further objects to this Request because the information Plaintiff seeks

 is available to the public and/or already in Rumble’s possession.

        Notwithstanding these objections, Jammi will produce copies of non-privileged

 documents and/or communications that are responsive to this Request and relate to

 the Statements in Suit, to the extent they are within her possession, custody or control

 following a reasonable search. Jammi will not produce documents unrelated to the

 Statements in Suit in response to this Request because such documents are irrelevant

 and privileged against compelled production by the Reporters’ Shield Laws.

 REQUEST FOR PRODUCTION NO. 3

        All Documents and Communications Concerning the Rumble Advertising

 Center.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 3

        Jammi objects to this Request as overly broad, unduly burdensome, and not

 relevant to any party’s claim or defense or proportional to the needs of the cases

                                              5
Case 8:23-cv-02718-CEH-LSG        Document 81-2      Filed 11/12/24    Page 6 of 18 PageID
                                         751



 because it seeks “all” information relating to the Rumble Advertising Center, including

 information unrelated to the Statements in Suit. Jammi further objects to this Request

 on the same grounds because Rumble has indicated that it seeks to use party discovery

 in this action to fish for information that is irrelevant to this action but may be useful

 in targeting Defendants, Check My Ads. Jammi further objects to this Request

 because it purports to require information that is protected by the Reporters’ Shield

 Laws. Jammi further objects to this Request because it seeks documents covered by

 the attorney-client privilege, attorney work product doctrine and/or joint defense

 privilege. Jammi further objects to this Request because it seeks communications

 and/or documents outside of Jammi’s possession, custody, or control. Jammi further

 objects to this Request because the information Plaintiff seeks is available to the public

 and/or already in Rumble’s possession.

       Notwithstanding these objections, Jammi will produce copies of non-privileged

 documents and/or communications that are responsive to this Request and relate to

 the Statements in Suit, to the extent they are within her possession, custody or control

 following a reasonable search. Jammi will not produce documents unrelated to the

 Statements in Suit in response to this Request because such documents are irrelevant

 and privileged against compelled production by the Reporters’ Shield Laws.

 REQUEST FOR PRODUCTION NO. 4

       All Documents reflecting Communications between You and Atkin Relating

 to Rumble.



                                             6
Case 8:23-cv-02718-CEH-LSG        Document 81-2      Filed 11/12/24    Page 7 of 18 PageID
                                         752



 RESPONSE TO REQUEST FOR PRODUCTION NO. 4

       Jammi objects to this Request as overly broad, unduly burdensome, and not

 relevant to any party’s claim or defense or proportional to the needs of the cases

 because it seeks “all” communications with Atkin relating to Rumble, including

 information unrelated to the Statements in Suit. Jammi further objects to this Request

 on the same grounds because Rumble has indicated that it seeks to use party discovery

 in this action to fish for information that is irrelevant to this action but may be useful

 in targeting Defendants, Check My Ads. Jammi further objects to this Request

 because it seeks the production of documents covered by the attorney-client privilege,

 attorney work product doctrine, joint defense privilege, and/or Reporters’ Shield

 Laws. Jammi further objects to this Request because the information Plaintiff seeks is

 available to the public and/or already in Rumble’s possession.

       Notwithstanding these objections, Jammi will produce copies of non-privileged

 documents and/or communications that are responsive to this Request and relate to

 the Statements in Suit, to the extent they are within her possession, custody or control

 following a reasonable search. Jammi will not produce documents in Response to this

 Request that are unrelated to the Statements in Suit because such documents are

 irrelevant and privileged against compelled production by the Reporters’ Shield Laws.

 REQUEST FOR PRODUCTION NO. 5

       All Documents reflecting Communications between You and any third party,

 including but not limited to Check My Ads, Media Matters for America, and Dewey

 Square Group, Relating to Rumble.

                                             7
Case 8:23-cv-02718-CEH-LSG        Document 81-2     Filed 11/12/24    Page 8 of 18 PageID
                                         753



 RESPONSE TO REQUEST FOR PRODUCTION NO. 5

       Jammi objects to this Request as overly broad, unduly burdensome, and not

 relevant to any party’s claim or defense or proportional to the needs of the cases

 because it seeks “all” communications between Jammi and any third party regarding

 Rumble, including information unrelated to the Statements in Suit, and because

 Rumble has indicated that it seeks to use party discovery in this action to fish for

 information that is irrelevant to this action but may be useful in targeting Defendants,

 Check My Ads or third-parties as part of a broader campaign against media monitoring

 organizations. Jammi further objects to this Request because it purports to require

 information that is protected by the Reporters’ Shield Laws. Jammi further objects to

 this Request because it seeks documents covered by the attorney-client privilege,

 attorney work product doctrine and/or joint defense privilege. Jammi further objects

 because this Request violates her First Amendment right to freedom of association.

       Notwithstanding these objections, Jammi will produce copies of non-privileged

 documents and/or communications that are responsive to this Request and relate to

 the Statements in Suit (if any), to the extent they are within her possession, custody or

 control following a reasonable search. Jammi will not produce documents unrelated

 to the Statements in Suit in response to this Request because such documents are

 irrelevant and privileged against compelled production by the Reporters’ Shield Laws.

 REQUEST FOR PRODUCTION NO. 6

       All Documents and Communications Relating to the Retraction Demand.



                                            8
Case 8:23-cv-02718-CEH-LSG       Document 81-2      Filed 11/12/24   Page 9 of 18 PageID
                                        754



 RESPONSE TO REQUEST FOR PRODUCTION NO. 6

       Jammi objects to this Request because it purports to seek the production of

 documents covered by the attorney-client privilege, attorney work product doctrine

 and/or joint defense privilege. Jammi also objects to this Request as improper and

 unduly burdensome because it seeks documents and communications that are more

 readily accessible by, or already in the possession of, Plaintiff. Jammi further objects

 on the grounds that Rumble is already in possession of her response to the Retraction

 Demand and any additional materials responsive to this request are irrelevant to the

 claims in this action, which arise from the publication of the Statements prior to the

 issuance of the Retraction Demand.

       Notwithstanding these objections, Jammi will produce copies of relevant, non-

 privileged documents responsive to this Request (if any) to the extent they are within

 Jammi’s possession, custody or control following a reasonable search.

 REQUEST FOR PRODUCTION NO. 7

       All Documents and Communications Relating to any Person, source, or

 potential source You contacted in connection with any article, potential article,

 reporting, social media post, or investigation concerning Rumble, regardless of

 whether the Person, potential source, or source was ultimately relied upon.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 7

       Jammi objects to this Request because it demands information that is protected

 by the Reporters’ Shield Laws. Jammi further objects to this Request as overly broad,

 unduly burdensome, and not relevant to any party’s claim or defense or proportional

                                            9
Case 8:23-cv-02718-CEH-LSG       Document 81-2      Filed 11/12/24   Page 10 of 18 PageID
                                         755



 to the needs of the cases because it essentially seeks “all” documents and

 communications between Jammi and any third party in connection with Check My

 Ads reporting about Rumble, including information unrelated to the Statements in

 Suit, and because Rumble has indicated that it seeks to use party discovery in this

 action to fish for information that is irrelevant to this action but may be useful in

 targeting Defendants, Check My Ads or third-parties as part of a broader campaign

 against media monitoring organizations.        Jammi further objects to this Request

 because it seeks documents covered by the attorney-client privilege, attorney work

 product doctrine and/or joint defense privilege.

         Notwithstanding these objections, Jammi will produce copies of non-privileged

 documents and/or communications that are responsive to this Request and relate to

 the Statements in Suit, to the extent they are within her possession, custody or control

 following a reasonable search. Jammi will not produce documents unrelated to the

 Statements in Suit in response to this Request because such documents are irrelevant

 and privileged against compelled production by the Reporters’ Shield Laws.

 REQUEST FOR PRODUCTION NO. 8

         All Documents and Communications Concerning Jammi’s August 16, 2023

 Post.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 8

         Jammi objects to this Request because it purports to seek the production of

 documents covered by the attorney-client privilege, attorney work product doctrine,

 joint defense privilege, or Reporters’ Shield Laws. Jammi further objects to this

                                           10
Case 8:23-cv-02718-CEH-LSG      Document 81-2     Filed 11/12/24   Page 11 of 18 PageID
                                        756



 Request because the information Plaintiff seeks is already in Rumble’s possession or

 available to the public.

         Notwithstanding these objections, Jammi will produce copies of relevant, non-

 privileged documents responsive to this Request to the extent they are within Jammi’s

 possession, custody or control following a reasonable search.

 REQUEST FOR PRODUCTION NO. 9

         All Documents and Communications Concerning Jammi’s September 26,

 2023 Post.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 9

         Jammi objects to this Request because it purports to seek the production of

 documents covered by the attorney-client privilege, attorney work product doctrine,

 joint defense privilege, or Reporters’ Shield Laws. Jammi further objects to this

 Request because the information Plaintiff seeks is already in Rumble’s possession or

 available to the public.

         Notwithstanding these objections, Jammi will produce copies of relevant, non-

 privileged documents responsive to this Request to the extent they are within Jammi’s

 possession, custody or control following a reasonable search.

 REQUEST FOR PRODUCTION NO. 10

         All Documents and Communications Concerning Atkin’s September 26, 2023

 Post.




                                           11
Case 8:23-cv-02718-CEH-LSG      Document 81-2     Filed 11/12/24   Page 12 of 18 PageID
                                        757



 RESPONSE TO REQUEST FOR PRODUCTION NO. 10

         Jammi objects to this Request because it purports to seek the production of

 documents covered by the attorney-client privilege, attorney work product doctrine,

 joint defense privilege, or Reporters’ Shield Laws. Jammi objects to this Request

 because it calls for documents that are not in her possession and/or were already

 produced or will be produced by Defendant Atkin. Jammi further objects to this

 Request because the information Plaintiff seeks is already in Rumble’s possession or

 available to the public.

         Notwithstanding these objections, Jammi will produce copies of relevant, non-

 privileged documents responsive to this Request to the extent they are within Jammi’s

 possession, custody or control following a reasonable search.

 REQUEST FOR PRODUCTION NO. 11

         All Documents and Communications Concerning Jammi’s October 3, 2023

 Post.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 11

         Jammi objects to this Request because it purports to seek the production of

 documents covered by the attorney-client privilege, attorney work product doctrine,

 joint defense privilege, or Reporters’ Shield Laws. Jammi further objects to this

 Request because the information Plaintiff seeks is already in Rumble’s possession or

 available to the public.




                                           12
Case 8:23-cv-02718-CEH-LSG      Document 81-2     Filed 11/12/24   Page 13 of 18 PageID
                                        758



        Notwithstanding these objections, Jammi will produce copies of relevant, non-

 privileged documents responsive to this Request to the extent they are within Jammi’s

 possession, custody or control following a reasonable search.

 REQUEST FOR PRODUCTION NO. 12

        All Documents and Communications Concerning the October 24, 2023

 Article.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 12

        Jammi objects to this Request because it purports to seek the production of

 documents covered by the attorney-client privilege, attorney work product doctrine,

 joint defense privilege, or Reporters’ Shield Laws. Jammi objects to this Request

 because it calls for documents that are not in her possession and/or were already

 produced or will be produced by Defendant Atkin. Jammi further objects to this

 Request because the information Plaintiff seeks is already in Rumble’s possession or

 available to the public.

        Notwithstanding these objections, Jammi will produce copies of relevant, non-

 privileged documents responsive to this Request to the extent they are within Jammi’s

 possession, custody or control following a reasonable search.

 REQUEST FOR PRODUCTION NO. 13

        All Documents and Communications Relating to or referring to any

 investigation or newsgathering activity You conducted concerning Rumble.




                                          13
Case 8:23-cv-02718-CEH-LSG       Document 81-2      Filed 11/12/24    Page 14 of 18 PageID
                                         759



 RESPONSE TO REQUEST FOR PRODUCTION NO. 13

       Jammi objects to this Request because it demands information that is protected

 by the Reporters’ Shield Laws. Jammi further objects to this Request as overly broad,

 unduly burdensome, and not relevant to any party’s claim or defense or proportional

 to the needs of the cases because it seeks “all” documents and communications relating

 to Check My Ads’ reporting about Rumble, including information unrelated to the

 Statements in Suit, and because Rumble has indicated that it seeks to use party

 discovery in this action to fish for information that is irrelevant to this action but may

 be useful in targeting Defendants, Check My Ads or third-parties as part of a broader

 campaign against media monitoring organizations. Jammi further objects to this

 Request because it seeks documents covered by the attorney-client privilege, attorney

 work product doctrine and/or joint defense privilege.

       Notwithstanding these objections, Jammi will produce copies of non-privileged

 documents and/or communications that are responsive to this Request and relate to

 the Statements in Suit, to the extent they are within her possession, custody or control

 following a reasonable search. Jammi will not produce documents unrelated to the

 Statements in Suit in response to this Request because such documents are irrelevant

 and privileged against compelled production by the Reporters’ Shield Laws.

 REQUEST FOR PRODUCTION NO. 14

       All Documents and Communications Concerning Rumble’s December 26,

 2022 tweet referenced in the Amended Complaint at ¶ 67 and Your response that

 same date.

                                            14
Case 8:23-cv-02718-CEH-LSG       Document 81-2      Filed 11/12/24     Page 15 of 18 PageID
                                         760



 RESPONSE TO REQUEST FOR PRODUCTION NO. 14

       Jammi objects to this Request because it purports to seek the production of

 documents covered by the attorney-client privilege, attorney work product doctrine,

 joint defense privilege, or Reporter’s Shield Laws. Jammi further objects to this

 Request on the same grounds because Rumble has indicated that it seeks to use party

 discovery in this action to fish for information that is irrelevant to this action but may

 be useful in targeting Defendants, Check My Ads. Jammi objects to this Request

 because it calls for documents that were already produced or will be produced by

 Defendant Jammi, or by any other third parties. Jammi further objects to this Request

 because the information Plaintiff seeks is available to the public.

       Notwithstanding these objections, Jammi will produce copies of non-privileged

 documents and/or communications that are responsive to this Request and relate to

 the Statements in Suit (if any), to the extent they are within her possession, custody or

 control following a reasonable search. Jammi will not produce documents unrelated

 to the Statements in Suit in response to this Request because such documents are

 irrelevant and privileged against compelled production by the Reporters’ Shield Laws.

 REQUEST FOR PRODUCTION NO. 15

       Any agreement under which an insurance business or other Person may be

 liable to satisfy all or part of a judgment in this Action or to indemnify or reimburse

 You for payments made to satisfy a judgment in this Action.




                                            15
Case 8:23-cv-02718-CEH-LSG         Document 81-2    Filed 11/12/24   Page 16 of 18 PageID
                                           761



 RESPONSE TO REQUEST FOR PRODUCTION NO. 15

       Jammi objects to this Request because it is overbroad, not reasonably calculated

 to lead to the discovery of admissible evidence, and not relevant because Defendants’

 insurance policies have no bearing on whether Defendants are liable to Plaintiff for the

 claims it asserts against them.

       Subject to and without waiving the foregoing objections, Jammi will produce a

 copy of any executed agreement responsive to the Request above.

 REQUEST FOR PRODUCTION NO. 16

       Any joint defense or similar agreement between You and any non-party to the

 Action concerning the Action.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 16

       Jammi objects to this Request because it is overbroad, not reasonably calculated

 to lead to the discovery of admissible evidence, and not relevant. Jammi also objects

 to this Request because it seeks the production of documents covered by the attorney-

 client privilege, attorney work product doctrine, joint defense privilege, or Reporters’

 Shield Laws.

       Subject to and without waiving the foregoing objections, Jammi will not

 produce documents in response to this Request because any agreements responsive to

 this Request are protected by the attorney-client privilege.




                                            16
Case 8:23-cv-02718-CEH-LSG   Document 81-2    Filed 11/12/24    Page 17 of 18 PageID
                                     762



 Dated July 1, 2024

  SHULLMAN FUGATE PLLC                     DAVIS WRIGHT TREMAINE
                                           LLP
  By: /s/ Sarah Papadelias
  Deanna K. Shullman (SBN 514462)          John M. Browning*
  Sarah M. Papadelias (SBN 0125098)        Katherine M. Bolger*

  2101 Vista Parkway, Ste. 4006            1251 Avenue of the Americas
  West Palm Beach, Florida 33411           New York, New York 10020
  Telephone: (561) 429-3619                Telephone: (212) 489-8230

  dshullman@shullmanfugate.com             jackbrowning@dwt.com
  spapadelias@shullmanfugate.com           katebolger@dwt.com
                                           *Admitted Pro Hac Vice

                                           Counsel for Defendant Claire Jammi




                                      17
Case 8:23-cv-02718-CEH-LSG      Document 81-2       Filed 11/12/24   Page 18 of 18 PageID
                                        763



                            CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2024, a true and correct copy of the foregoing

 was served via email on all counsel of record.


                                                  /s/ Sarah M. Papadelias        _
                                                  Sarah M. Papadelias




                                           18
